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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                               CRIMINAL ACTION

VERSUS                                                 NO. 13-286

ANTHONY ELLIS                                          SECTION R



                          ORDER AND REASONS

        Defendant Anthony Ellis moves to vacate his sentence under 28 U.S.C.

§ 2255.1 Upon review of the entire record, the Court has determined that this

matter can be disposed of without an evidentiary hearing. For the following

reasons, Ellis’s motion is denied.



I.      BACKGROUND

        On April 20, 2015, defendant Anthony Ellis pleaded guilty to

transportation of an individual for purposes of engaging in prostitution in

violation of 18 U.S.C. § 2421, and conspiracy to commit sex trafficking in

violation of 18 U.S.C. §§ 371 and 1591(a). 2 Ellis waived his right to appeal

and collaterally challenge his conviction and sentence, but he retained the

right to raise a claim of ineffective assistance of counsel in an appropriate


1       R. Docs. 426, 445.
2       See R. Docs. 192, 375.
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proceeding.3 The Court accepted the plea agreement and sentenced Ellis to

60 months imprisonment as to conspiracy to commit sex trafficking, and 120

months imprisonment as to transportation of an individual for purposes of

engaging in prostitution, to be served consecutively. 4 In calculating the

appropriate Sentencing Guidelines range, the Court increased Ellis’s

criminal history category from IV to VI under the career offender provision.

U.S.S.G. § 4B1.1(b). The two predicate offenses warranting application of

§ 4B1.1(b) were two Tennessee convictions for possession of a controlled

substance with intent to sell.

       Ellis now moves to vacate his sentence under 28 U.S.C. § 2255 on

several grounds. First, Ellis argues that his sentence is unconstitutional in

light of Johnson v. United States, 135 S. Ct. 2551 (2015), and Mathis v.

United States, 136 S. Ct. 2243 (2016).5 Second, Ellis argues that his lawyer

was ineffective for, among other reasons, failing to file a motion to suppress

evidence and misleading Ellis into pleading guilty to conspiracy to defraud

the United States.6 Third, Ellis challenges various aspects of his sentence,

including his sentencing enhancements and consecutive terms of




3      R. Doc. 192 at 2-3.
4      R. Doc. 375 at 2.
5      R. Doc. 433 at 4; R. Doc. 445 at 7.
6      R. Doc. 433 at 5.
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imprisonment, and argues that his sentence violates the Eighth

Amendment.7



II.    STANDARD OF REVIEW

       Section 2255 of Title 28 of the United States Code provides that a

federal prisoner serving a court-imposed sentence “may move the court

which imposed the sentence to vacate, set aside or correct the sentence.” 28

U.S.C. § 2255(a). Only a narrow set of claims are cognizable on a Section

2255 motion. The statute identifies four bases on which a motion may be

made: (1) the sentence was imposed in violation of the Constitution or laws

of the United States; (2) the court was without jurisdiction to impose the

sentence; (3) the sentence exceeds the statutory maximum sentence; or (4)

the sentence is “otherwise subject to collateral attack.” Id. A claim of error

that is neither constitutional nor jurisdictional is not cognizable in a Section

2255 proceeding unless the error constitutes “a fundamental defect which

inherently results in a complete miscarriage of justice.” United States v.

Addonizio, 442 U.S. 178, 185 (1979) (quoting Hill v. United States, 368 U.S.

424, 428 (1962)).




7      Id. at 7.
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      When a Section 2255 motion is filed, the district court must first

conduct a preliminary review. “If it plainly appears from the motion, any

attached exhibits, and the record of prior proceedings that the moving party

is not entitled to relief, the judge must dismiss the motion . . . .” Rules

Governing Section 2255 Proceedings, Rule 4(b). If the motion raises a non-

frivolous claim to relief, the court must order the Government to file a

response or to take other appropriate action. Id. The judge may then order

the parties to expand the record as necessary and, if good cause is shown,

authorize limited discovery. Id., Rules 6-7.

      After reviewing the Government’s answer, any transcripts and records

of prior proceedings, and any supplementary materials submitted by the

parties, the court must determine whether an evidentiary hearing is

warranted. Id., Rule 8. An evidentiary hearing must be held “[u]nless the

motion and the files and records of the case conclusively show that the

prisoner is entitled to no relief.” 28 U.S.C. § 2255(b). No evidentiary hearing

is required if the prisoner fails to produce any “independent indicia of the

likely merit of [his] allegations.” United States v. Edwards, 442 F.3d 258,

264 (5th Cir. 2006) (quoting United States v. Cervantes, 132 F.3d 1106, 1110

(5th Cir. 1998)).




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      Ultimately, the petitioner bears the burden of establishing his claims

of error by a preponderance of the evidence. Wright v. United States, 624

F.2d 557, 558 (5th Cir. 1980). For certain “structural” errors, relief follows

automatically once the error is proved. Brecht v. Abrahamson, 507 U.S. 619,

629-30 (1993). For other “trial” errors, the court may grant relief only if the

error “had substantial and injurious effect or influence” in determining the

outcome of the case. Id. at 637-38 (citation omitted); see also United States

v. Chavez, 193 F.3d 375, 379 (5th Cir. 1999) (applying Brecht in a Section

2255 proceeding). If the court finds that the prisoner is entitled to relief, it

“shall vacate and set the judgment aside and shall discharge the prisoner or

resentence him or grant a new trial or correct the sentence as may appear

appropriate.” 28 U.S.C. § 2255(b).



III. DISCUSSION

      A.    Johnson and Mathis

      Ellis first argues that his sentence is unconstitutional under the

Supreme Court’s recent decisions in Johnson and Mathis. The Court in

Johnson held that the “residual clause” of the Armed Career Criminal Act

was unconstitutionally vague. 135 S. Ct. at 2557. This clause defines a

“violent felony” as, among other things, a felony “involv[ing] conduct that


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presents a serious potential risk of physical injury to another.” 18 U.S.C.

§ 924(e)(2)(B)(ii).     In Mathis, the Court elaborated on the modified

categorical approach, which courts use to determine whether past

convictions for offenses with alternative elements qualify as crimes of

violence under the Armed Career Criminal Act. 136 S. Ct. at 2251-54.

       Ellis’s claim for relief is meritless for several reasons. 8 First, even if the

Court relied on the residual clause of § 4B1.2(a)(2) to find that conspiracy to

commit sex trafficking is a crime of violence, Johnson does not afford Ellis

relief. In Beckles v. United States, 137 S. Ct. 886 (2017), the Supreme Court

clarified that Johnson does not apply to the Sentencing Guidelines.

Specifically, the Court held that “§ 4B1.2(a)’s residual clause is not void for

vagueness” because “the advisory Sentencing Guidelines are not subject to a

due process vagueness challenge.” Id. at 897.

       Second, Ellis cannot rely on Mathis to show a constitutional violation.

Even if the Court relied on the elements clause of § 4B1.2(a)(1) to find that

conspiracy to commit sex trafficking is a crime of violence, and this were

error under Mathis, “[m]isapplications of the Sentencing Guidelines . . . are



8      The Government further argues that this claim is procedurally
defaulted and barred by the appeal waiver in Ellis’s guilty plea. R. Doc. 456
at 6-9. The Court need not address these arguments because Ellis’s claim
fails on the merits.

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not cognizable in § 2255 motions.” United States v. Williamson, 183 F.3d

458, 462 (5th Cir. 1999). Thus, Ellis’s career offender enhancement did not

violate due process.

      B.      Ineffective Assistance of Counsel

      Ellis’s second asserted ground for relief is ineffective assistance of

counsel. To establish a claim of constitutionally ineffective assistance of

counsel, a petitioner must show both (1) that counsel’s performance fell

below an objective standard of reasonableness, and (2) that but for counsel’s

deficient performance, the likely outcome of the proceeding would have been

different. See Strickland v. Washington, 466 U.S. 668, 687-96 (1984).

The petitioner must meet both prongs of the Strickland test and, if the Court

finds that the petitioner has made an insufficient showing as to either prong,

the Court may dispose of the claim without addressing the other prong. See

id. at 697.

      As to the first prong of the Strickland test, counsel’s performance must

be compared to “an objective standard of reasonableness, mindful of the

strong presumption of adequacy.” Green v. Johnson, 116 F.3d 1115, 1122 (5th

Cir. 1997). A court should not find inadequate representation merely

because, with the benefit of hindsight, the court disagrees with counsel’s

strategic choices. Id. The Fifth Circuit has made clear that “[a] conscious


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and informed decision on trial tactics and strategy cannot be the basis for

constitutionally ineffective assistance of counsel unless it is so ill chosen that

it permeates the entire trial with obvious unfairness.” Id. (quoting Garland

v. Maggio, 717 F.2d 199, 206 (5th Cir. 1983)). As to the second Strickland

prong, a petitioner must show “that there is a reasonable probability that,

but for counsel’s unprofessional errors, the result of the proceeding would

have been different. A reasonable probability is a probability sufficient to

undermine confidence in the outcome.” Strickland, 466 U.S. at 694.

      Ellis first argues that his trial counsel was deficient for not filing

motions that could have helped him, such as a motion to suppress. But Ellis

does not explain how these motions would have affected the outcome of the

proceedings. See id. Ellis does not demonstrate that “but for counsel’s

errors, he would not have pleaded guilty and would have insisted on going to

trial.” Lee v. United States, 137 S. Ct. 1958, 1965 (2017) (quoting Hill v.

Lockhart, 474 U.S. 52, 59 (1985)). Nor does Ellis demonstrate that the

motions counsel failed to file would have affected his sentence.

      Ellis next argues that his trial counsel was deficient for not providing

him with a discovery packet. Again, Ellis does not explain how additional

access to discovery would have affected the outcome of the proceedings. See

Strickland, 466 U.S. at 694.


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      Finally, Ellis argues that trial counsel led him to believe that he was

pleading guilty to conspiracy to commit sex trafficking, 18 U.S.C. § 1594(c),

whereas in fact he pleaded guilty under the general conspiracy statute, 18

U.S.C. § 371, and to transportation of an individual for purposes of

prostitution, 18 U.S.C. § 2421. Ellis does not explain how trial counsel’s

allegedly misleading advice was prejudicial. Notably, the crimes to which

Ellis pleaded guilty have statutory maximums of five and ten years, while

conspiracy to commit sex trafficking under 18 U.S.C. § 1594(c) carries a

maximum penalty of life imprisonment.             Thus, Robinson’s claim of

ineffective assistance of counsel is meritless.

      C.    Other Challenges to Ellis’s Sentence

      Ellis lodges various additional challenges to his sentence. To the extent

Ellis challenges the application of the Sentencing Guidelines, these

challenges are not cognizable in a § 2255 motion. Williamson, 183 F.3d at

462. Ellis further asserts that his sentencing enhancements for specific

offense characteristics under U.S.S.G. § 2A3.1 violated both due process and

the Eighth Amendment. The Court increased the base offense level by 4

points because the offense involved conduct described in 18 U.S.C. § 2241(a)

or (b), namely, force or the threat of force. U.S.S.G. § 2A3.1(b)(1). The Court

also increased the base offense level by 2 points because one victim sustained


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serious bodily injury. U.S.S.G. § 2A3.1(b)(4). The factual basis provides

sufficient evidence to support these enhancements. Thus, Ellis does not

demonstrate any due process violation. Additionally, Ellis does not explain,

and the Court cannot discern, how these enhancements violated the Eighth

Amendment.

      The record conclusively shows that Ellis is not entitled to relief. Thus,

no evidentiary hearing is required under 28 U.S.C. § 2255(b).

      D.    Certificate of Appealability

      When a district court enters a final order adverse to a petitioner under

28 U.S.C. § 2255, the court must issue or deny a certificate of appealability.

Rules Governing Section 2255 Proceedings, Rule 11(a). A court may only

issue a certificate of appealability if the petitioner makes “a substantial

showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). The

“controlling standard” for a certificate of appealability requires the petitioner

to show “that reasonable jurists could debate whether (or, for that matter,

agree that) the petition should have been resolved in a different manner or

that the issues presented [are] adequate to deserve encouragement to

proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 336 (2003) (quoting

Slack v. McDaniel, 529 U.S. 473, 484 (2000)). With respect to claims denied

on procedural grounds, the petitioner must make a two-part showing:


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(1) that “jurists of reason would find it debatable whether the district court

was correct in its procedural ruling,” and (2) that “jurists of reason would

find it debatable whether the petition states a valid claim of the denial of a

constitutional right.” Johnson v. Quarterman, 483 F.3d 278, 284 (5th Cir.

2007) (quoting Slack, 529 U.S. at 484).

      Ellis’s motion does not satisfy these standards. For the reasons stated

in this order, the Court finds that Ellis’s arguments do not amount to a

substantial showing that his constitutional rights were compromised, nor

would they engender any type of debate among reasonable jurists.

Accordingly, the Court will not issue a certificate of appealability.



IV.   CONCLUSION

      For the foregoing reasons, the Court DENIES Ellis’s 28 U.S.C. § 2255

motion. The Court will not issue a certificate of appealability.




       New Orleans, Louisiana, this _______
                                      21st  day of February, 2018.



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                           SARAH S. VANCE
                    UNITED STATES DISTRICT JUDGE

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